UNTIED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

 

Dwayne R. Torrence, Jr.

Plaintiff
Case No.: 1:20-cv-01223-SAG

vs.

Bartels, M.D., in his individual and official capacities; et al.

Defendant(s)
AFFIDAVIT OF SERVICE

I, Vincent Piazza, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons in a Civil Action and Amended Complaint for Declaratory.
Injunctive, and Other Relief, and Demand for Jury Trial in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 11/13/2020 at 9:13 AM, I served Mofikpara Wright, M.D., in his individual and official capacities at 12617 Shoal Creek
Terrace, Beltsville, Maryland 20705 with the Summons in a Civil Action and Amended Complaint for Declaratory. Injunctive, and
Other Relief, and Demand for Jury Trial by serving Mofikpara Wright, M.D, personally.

Mofikpara Wright, M.D is described herein as:

Gender: Male Race/Skin: Black Age: 55 Weight:220 Height: 6'3" Hair: Black Glasses: No

I declare under penalty of perjury that this information is true and correct.

W\itp] Ve2e A

Vincent Piazza

 

 

Executed On
Client Ref Number:N/A

Job #: 1583677

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland

DWAYNE R. TORRENCE, JR.

 

Plaintiff(s)
V.

BARTELS, M.D., in his individual and official capacities; ROBERT P. WILLIAMS,
M.D., in his individual and official capacities; BERNARD ALENDA, N.P., in his
individual and official capacities; LIBERATUS DEROSA, M.D., in his individual and
official capacities; MOFIKPARA WRIGHT, M.D.., in his individual and official
capacities; ELECTA AWANGA, N.P., in her individual and official capacities;
EVELYN TATONG, in her individual and official capacities; NICOLE HARGRAVES,
in her individual and official capacities; and DOES 1-50, inclusive

Defendant(s)

Civil Action No. 1:20-cv-01223-SAG

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SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Mofikpara Wright, M.D.
Jessup Correctional Institution
Department of Public Safety and Correctional Services
Post Office Box 534
Jessup, Maryland 20794

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: George M. Clarke
Bar No. 16688
BAKER & McKENZIE LLP
815 Connecticut Avenue NW
Washington, DC 20006
Tel: (202) 452-7057
Fax: (202) 416-7024
george.clarke@bakermckenzie.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

 

Date:

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0/26/2020 —

 

Signature of Clerk or Deputy Clerk
